 Case 2:14-ml-02531-GW-AGR Document 277 Filed 12/20/17 Page 1 of 2 Page ID #:3576



 1
 2
 3                                                               CC: MDL PANEL
 4
 5
 6
 7                   UNITED STATES DISTRICT COURT
 8
                   CENTRAL DISTRICT OF CALIFORNIA
 9
10   In re:                                5   MDL Number:
                                           5
11    MICHAELS STORES, INC., WAGE 5            MDL 14-2531-GW(AGRx)
      AND HOUR EMPLOYMENT 5
12    PRACTICES LITIGATION                 5
                                           5
13                                         5   ORDER      DISMISSING
                                           5   MULTIDISTRICT LITIGATION IN
14                                         5   THE ENTIRETY, WITH
                                           5   PREJUDICE
15                                         5
                                           5
16                                         5
                                           5   [No hearing required]
17                                         5
                                           5
18                                         5   Judge:      HON. GEORGE H. WU
                                           5
19                                         5
                                           5
20                                         5
                                           5
21                                         5
                                           5
22                                         5
                                           5
23                                         5
                                           5
24                                         5
                                           5
25                                         5
                                           5
26                                        5
     44444444444444444444444444444444444448
27
28
     ORDER DISMISSING MULTIDISTRICT LITIGATION IN THE ENTIRETY,
     WITH PREJUDICE – P. 1
 Case 2:14-ml-02531-GW-AGR Document 277 Filed 12/20/17 Page 2 of 2 Page ID #:3577



 1         CAME ON to be considered the Stipulation for Dismissal of Multidistrict
 2 Litigation in the Entirety, With Prejudice, entered by and among all Plaintiffs in all
 3 actions within the scope of the above-captioned multidistrict litigation (hereinafter
 4 collectively “Plaintiffs”) on the one hand, and Defendant, Michaels Stores, Inc.
 5 (hereinafter “Michaels”), on the other hand, and the Court has found that the relief
 6 requested therein should be GRANTED.
 7         IT IS, THEREFORE, ORDERED, that all claims of all Plaintiffs in all actions
 8 within the scope of the above-captioned multidistrict litigation shall be, and hereby are,
 9 DISMISSED WITH PREJUDICE;
10         IT IS FURTHER ORDERED, that the above-captioned multidistrict litigation
11 is hereby DISMISSED WITH PREJUDICE and TERMINATED in the entirety;
12         IT IS FURTHER ORDERED, that, except as may otherwise be agreed among
13 the parties, each party shall bear its own costs and fees.
14
15
     Dated: December 20, 2017
16                                          GEORGE H. WU, U.S. DISTRICT JUDGE
17
18
19
20
21
22
23
24
25
26
     [LA14ML02531GW-O JS-6.wpd]
27
28
     ORDER DISMISSING MULTIDISTRICT LITIGATION IN THE ENTIRETY,
     WITH PREJUDICE – P. 2
